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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION
UNITED STATES OF AMERICA                        §
                                                §
VS                                              §                NO. SA:15-CR-00270-(2)-FB
                                                §
CARLOS BACA                                     §


                          MOTION TO TERMINATE PROBATION


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW CARLOS BACA, Defendant in the above entitled and numbered cause, by

and through his undersigned counsel and move the Court for early termination of the probation

imposed in the above entitled and numbered cause pursuant to Title 18 U.S.C. § 371 and in support

thereof would show unto the court as follows:

                                                 I.

       The Defendant was charged with the offense of conspiracy to defraud the United States.

Defendant plead guilty on June 18, 2015. On March 11, 2016, the Defendant was sentenced to five

(5) years of probation.

                                                II.

       The Defendant has completed thirty-five (35) months of his probation. Additionally, the

Defendant has had no violations of any kind and is currently in compliance with all the terms and

conditions of his sentence.

                                                III.

       The Defendant has paid the special assessment and completed the payments on the

restitution ordered.
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                                                IV.

       The probation and restitution payments paid by this Defendant have had strong

rehabilitative effects. Defendant has made positive changes in his life. Mr. Baca is keenly aware

of the negative impact and consequences of his past actions and assures the Court that he will never

again participate in unlawful activity of any kind.

                                                 V.

       US Probation Officer Virginia Silva has informed counsel that she does not oppose the

granting of this Motion.

       WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully prays that the

Court grant this motion.


                                                      Respectfully Submitted,
                                                      LAW OFFICES OF ALAN BROWN
                                                      222 MAIN PLAZA
                                                      SAN ANTONIO, TX 78205
                                                      210-227-5103 (P)
                                                      210-225-2481 (F)


                                                                  /S/
                                                      ALAN BROWN
                                                      BAR NO. 03090000
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                                CERTIFICATE OF SERVICE


       I hereby certify that on the 8th day of February, 2019, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

the following:

U.S. Attorney’s Office
601 NW Loop 410, Suite 600                                    /S/
San Antonio, Texas 78216                                ALAN BROWN
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                            UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION
UNITED STATES OF AMERICA                       §
                                               §
VS                                             §                  NO. SA:15-CR-00270-(2)-FB
                                               §
CARLOS BACA                                    §

                                          ORDER

       On this date came to be considered Defendant’s Motion to Terminate Probation. After

consideration of same, the Court is of this opinion that said Motion is hereby

                                    GRANTED          DENIED

IT IS HEREBY FURTHER ORDERED THAT:_________________________________

______________________________________________________________________________

_________________________________________________________________.

       SIGNED and ENTERED on this the                day of                      , 2019.



                                                         ______________________________
                                                          U.S. DISTRICT JUDGE
